           Case 1:05-cr-00461-OWW Document 86 Filed 06/07/07 Page 1 of 2


1    McGREGOR W. SCOTT
     United States Attorney
2    DAVID L. GAPPA
     Assistant U.S. Attorney
3    2500 Tulare Street
     Suite 4401
4    Fresno, California 9372l
     Telephone: (559) 497-4000
5

6

7

8

9

10              IN THE UNITED STATES DISTRICT COURT FOR THE

11                      EASTERN DISTRICT OF CALIFORNIA

12
     UNITED STATES OF AMERICA,        ) CR. F-05-00461 OWW
13                                    )
                     Plaintiff,       )
14                                    ) STIPULATION REGARDING CONTINUANCE
          v.                          ) OF MOTION HEARING
15                                    )
     SEAN MONROE,                     ) DATE: July 23rd, 2007
16                                    ) TIME: 10:00 a.m.
                                      ) PLACE: Courtroom Three
17                   Defendant.       ) JUDGE: Oliver W. Wanger
                                      )
18

19
          The parties have agreed that the date for the hearing on the
20
     defendant’s motion to withdraw his guilty plea be moved from June
21
     11, 2007, to July 23, 2007, at 10:00 a.m.       This continuance is
22
     necessary, because the parties have continued to discuss an
23
     alternative to litigation of the defendant’s motion to withdraw
24

25   his guilty plea.   The parties met as recently as May 23, 2007,

26   but events beyond the control of counsel and the defendant have

27   precluded the parties from making a final determination of how

28
                                        1
              Case 1:05-cr-00461-OWW Document 86 Filed 06/07/07 Page 2 of 2


1    the case will be resolved.        Accordingly, both parties request

2    that the court continue the matter so that the resources of the
3    court, the parties, and the defendant can be conserved.
4    Dated:       June 7, 2007                         Respectfully submitted,
5                                                      McGREGOR W. SCOTT
                                                       United States Attorney
6

7                                                      /s/ David L. Gappa
                                                 By:   DAVID L. GAPPA
8                                                      Assistant U.S. Attorney

9                                                      /s/ Jeff Hammerschmidt
                                                       JEFF HAMMERSCHMIDT
10                                                     Attorney for Defendant
                                                       Sean Monroe
11

12
                                         ORDER
13
          IT IS SO ORDERED. For the reasons stated in the
14   stipulation, the matter is continued to July 23, 2007, at 10:00
     a.m. and, to the extent it is necessary, time is excluded under
15
     18 U.S.C. § 3161(h)(8)(A) and 18 U.S.C. § 3161(h)(8)(B)(i) and
16   (iv).

17

18   IT IS SO ORDERED.

19   Dated: June 7, 2007                     /s/ Oliver W. Wanger
     emm0d6                             UNITED STATES DISTRICT JUDGE
20

21

22

23

24

25

26

27

28
                                           2
